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1
                                      UNITED STATES DISTRICT COURT
2

3                               FOR THE EASTERN DISTRICT OF LOUISIANA

4    ARMOND GRAY,                                           Civil Action
5                       Plaintiff,
6
     vs.                                                    Case No.:
7
     3M COMPANY, AERO TECHNOLOGIES
8    LLC,                                                   Jury Requested
9                       Defendant
10                                                          COMPLAINT AND JURY DEMAND
11                                    COMPLAINT AND JURY DEMAND
12
                    Plaintiff, Armond Gray (“Plaintiff”), by and through the undersigned counsel, brings
13
           this Complaint seeking judgment against Defendants 3M COMPANY (“3M”) and AEARO
14

15         TECHNOLOGIES LLC (individually “AEARO” and collectively “Defendants” or

16         “3M/Aearo”) for personal injuries incurred while in training and/or on active military duty,
17         resulting from Defendants’ defective and unreasonably dangerous product, the Dual-ended
18
           Combat Arms™ earplugs (Version 2 CAEv.2) (“Dual-ended Combat Arms™ earplugs”). At
19
           all times relevant hereto, the Dual-ended Combat Arms™ earplugs were manufactured,
20

21         designed, formulated, tested, packaged, labeled, produced, created, made, constructed,

22         assembled, marketed, advertised, promoted, distributed, and sold by Defendants.
23                                                 I.      PARTIES
24
           1. Plaintiff, Armond Gray, is an individual residing in Houma, Terrebonne Parish,
25
                 Louisiana, within the Eastern District of Louisiana.
26

27         2.    Defendant 3M is an entity with its principal place of business located at 3M center, Bldg.

28               224-5N-40, St. Paul, Minnesota 55144. Defendant 3M is registered to transact business in
     COMPLAINT AND JURY DEMAND - 1
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1          Louisiana and may be served with process on its registered agent, Corporation Service
2
           Company, located at 501 Louisiana Avenue, Baton Rouge, Louisiana 70802.
3
        3. Defendant Aearo is a limited liability company which, upon information and belief, has
4
           3M as its sole member. Aearo is thus a citizen of Delaware and Minnesota.
5

6                                 II.     JURSIDICTION AND VENUE

7       4. This court has subject matter jurisdiction over this action under 28 U.S.C. § 1332.
8
           Complete diversity of citizenship exists between the parties, and the amount in
9
           controversy is greater than $75,000.
10
        5. Personal jurisdiction over the Defendants is proper because they have done business in
11

12         the State of Louisiana, have committed a tort in whole or in part in the State of Louisiana,

13         have substantial and continuing contact with the State of Louisiana, and derive
14
           substantial revenue from goods used and consumed within the State of Louisiana. In fact,
15
           there are multiple military bases in the State of Louisiana, that include servicemen from
16
           the Army, Air Force, Navy and Marine Corps branches of the military, to which
17

18         Defendants have provided their products.

19      6. Defendants purposefully availed themselves to business dealings in the State of Louisiana
20
           and could reasonably expect to respond to complaints therein. Defendants’ purposeful
21
           availment of the benefit and protection of the laws of Louisiana is sufficient to support
22
           proper exercise of personal jurisdiction over Defendants.
23

24      7. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) as a substantial part of

25         the events or omissions giving rise to the claim occurred in this District.
26

27

28
     COMPLAINT AND JURY DEMAND - 2
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1                                    III.    FACTUAL ALLEGATIONS
2
                                            Plaintiff Armond Gray
3
        8. Plaintiff joined the U.S. Army in 2003 and was honorably discharged in 2006.
4
        9. Prior to joining the service, Plaintiff had no signs or symptoms of hearing loss or tinnitus.
5

6       10. Plaintiff has no family history of hearing loss or tinnitus.

7       11. Plaintiff was deployed to Afghanistan in 2005-2006.
8
        12. Plaintiff was issued the Duel-ended Combat Arms™ earplugs which were designed,
9
           manufactured, marketed and sold by Defendants.
10
        13. Plaintiff wore the duel-ended Combat Arms™ while firing weapons and during training
11

12         and combat activities which produced dangerous levels of noise.

13      14. Plaintiff observed and followed all instructions provided by Defendants for the proper
14
           and effective use of the Dual-ended Combat Arms™ earplugs.
15
        15. Plaintiff was never instructed to fold back the flanges on the Dual-ended Combat Arms™
16
           earplug.
17

18      16. As a results of using these defective earplugs during his time of service, Plaintiff

19         continues to suffer daily from hearing loss and other damages.
20
                                                 Defendants
21
        17. On July 26, 2018, 3M agreed to pay $9.1 million to resolve allegations that it knowingly
22
           supplied the Dual-ended Combat Arms™ Earplugs to the United States military without
23

24         disclosing defects that hampered the effectiveness of the hearing protection device. See

25         United States ex rel. Moldex-Metric, Inc. v. 3M Company, Case No. 3:16-cv-01533-DCC
26
           (D.S.C. 2016). In that case, the United States alleged that 3M, and its predecessor, Aero,
27
           knew that the Dual-ended Combat Arms™ Earplugs were too short for proper insertion
28
     COMPLAINT AND JURY DEMAND - 3
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1          into users’ ears and that the earplugs could loosen imperceptibly and therefore did not
2
           perform well for certain service members. The United States also alleged that 3M did not
3
           disclose the design defect to the military.
4
        18. Defendants’ Dual-ended Combat Arms™ earplugs are non-linear, or selective
5

6          attenuation, earplugs which were designed to provide soldiers with two different options

7          for hearing attenuation depending upon how the plugs are worn. If worn in the “closed”
8
           or “blocked” position (olive end in), the earplugs are intended to act as a traditional
9
           earplug and block as much sound as possible. If worn in the “open” or “unblocked”
10
           position (yellow side in user’s ear), the earplugs are intended reduce loud impulse
11

12         sounds, such as battlefield explosions and artillery fire, while allowing the user to hear

13         quieter noises; for example, commands spoken by fellow soldiers and approaching enemy
14
           combatants. Both sides of the dual-sided earplugs were purported to provide adequate
15
           protection for soldier’s ears when worn.
16
        19. These earplugs were originally created by Aero. Aearo was the global market leader in
17

18         hearing and eye protection and was based in Indianapolis, Indiana. Aearo sold the Dual-

19         ended Combat Arms™ earplugs until being acquired by 3M in 2008 for $1.2 billion (and
20
           thus any liability associated with its past conduct.) 3M hired many of the same employees
21
           at Aero that developed and tested the defective earplugs.
22
        20. Post-acquisition, the Dual-ended Combat Arms™ earplugs have been marketed and sold
23

24         by 3M. Because 3M acquired both the assets and liabilities of Aearo, Aearo and 3M are

25         used interchangeably and all allegations against Aearo are directed as a matter of law
26
           against 3M and thus 3M is jointly and severally liable for Aearo’s conduct as alleged
27
           herein.
28
     COMPLAINT AND JURY DEMAND - 4
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1       21. Upon information and belief, 3M/Aero was aware of the defects as early as 2000, several
2
           years before 3M/Aero became the exclusive provider of earplugs to the United States
3
           military.
4
        22. Defendants knew at the time they received the exclusive contract to supply earplugs to
5

6          the military between 2003 and 2015, that these earplugs had dangerous defects. The

7          design of the earplug prevents a snug fit in the ear canal of the wearer, an inherent defect
8
           about which there was no adequate warning. Defendants’ standard fitting instructions
9
           state the wearer is to grasp the earplug by the stem and insert it into the ear canal. When
10
           inserted according to Defendants’ standard fitting instructions, the edge of the third
11

12         flange of the non-inserted end of the earplug presses against the wearers’ ear canal and

13         folds back to its original shape, thereby loosening the seal in their ear canals and
14
           providing inadequate protection. Because the earplugs are symmetrical, the standard
15
           fitting instructions will result in a loosening of the seal whether either side is inserted into
16
           the ear canal.
17

18      23. Upon information and belief, these dangerous design defects were known to Aero in 2000

19         (and later 3M) when it completed testing Dual-ended Combat Arms™ earplugs.
20
        24. Despite this knowledge, in 2003 and possibly earlier, Aero submitted a bid in response to
21
           the military’s Request for Proposal to supply large quantities of these defective earplugs
22
           and entered into a contract pursuant to which it became the exclusive supplier of earplugs
23

24         to the military.

25      25. When Defendant Aero/3M initially tested the earplugs prior to becoming the exclusive
26
           provider of military earplugs, they were not able to achieve a satisfactory Noise
27
           Reduction Rating (“NRR”) with either end of the earplugs.
28
     COMPLAINT AND JURY DEMAND - 5
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1       26. In testing, when the closed end (olive side) was inserted into the wearer’s ear according
2
           to standard fitting instructions, the basal edge of the third flange of the open end (yellow
3
           side) would press against the wearer’s ear and fold backwards. When the inward pressure
4
           on the earplug was released, the yellow side flanges would return to their original shape
5

6          and cause the earplug to loosen, often imperceptible to the wearer. Testing suggested an

7          average NRR of 10.9, which was far below the adequate NRR that 3M/Aero personnel
8
           would and should have expected for the closed end.
9
        27. 3M/Aero tested the subjects with the open end of the Dual- ended Combat Arms™
10
           earplug and obtained a facially invalid -2 NRR, which would indicate that the closed end
11

12         of the earplug actually amplified sound. 3M/Aero represented the -2 NRR as a “0” NRR

13         which 3M/Aero has displayed on its packaging since its launch. 3M/Aero falsely touted
14
           the “0” NRR as a benefit of the Dual- ended Combat Arms™ earplug, by suggesting that
15
           soldiers will be able to hear their fellow soldiers and enemies while still providing some
16
           protection. As stated however, the “true” -2 NRR actually amplifies sound thereby
17

18         exposing the wearer to harm.

19      28. In the second round of testing, the test subjects were instructed to fold back the yellow
20
           flanges on the open end of the Dual- ended Combat Arms™ earplug prior to insertion in
21
           order to achieve a proper fit. Only by manipulating the earplugs in this way were they
22
           able to achieve a satisfactory NRR of 22.
23

24      29. However, these same instructions to manipulate the earplugs were not given to service

25         members. Because of this, Plaintiff and other service members only used the earplugs
26
           according to instructions provided by the Defendant, which did not instruct them to
27

28
     COMPLAINT AND JURY DEMAND - 6
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1          manipulate the earplugs to achieve a proper fit. As a result of not being properly
2
           instructed, Plaintiff suffered damages.
3
        30. The Dual-ended Combat Arms™ earplugs also deviated from the specifications
4
           promulgated by the U.S. Military, the American National Standards Institute, and the
5

6          Environmental Protection Agency in a manner that rendered them unreasonably

7          dangerous. Specifically, the earplugs did not comply with the Salient Characteristics of
8
           Medical Procurement Item Description (“MPID”) of Solicitation No. SP0200-06-R-4202.
9
               a. The pertinent Salient Characteristics set forth in the MPID, which were uniform
10
                   across all RFPs, in relevant part, are as follows:
11

12                 2.1.1 Ear plugs shall be designed to provide protection from the impulse noises

13                 created by military firearms, while allowing the wearer to clearly hear normal
14
                   speech and other quieter sounds, such as voice commands, on the battlefield.
15
                   2.2.2. The sound attenuation of both ends of the ear plugs shall be tested in
16
                   accordance with ANSI S3.19.
17

18                 2.4 Workmanship. The ear plugs shall be free from all defects that detract from

19                 their appearance or impair their serviceability.
20
                   2.5 Instructions. Illustrated instructions explaining the proper use and handling of
21
                   the ear plugs shall be supplied with each unit.
22
        31. 3M/Aearo knew the design defects could cause the earplugs to loosen in the wearer’s ear,
23

24         imperceptibly to the wearer and even trained audiologists visually observing a wearer,

25         thereby permitting damaging sounds to enter the ear canal by traveling around the outside
26
           of the earplug, while the user and/or audiologist incorrectly believes that the earplug is
27
           working as intended.
28
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1       32. 3M/Aearo knowingly used the deliberately flawed retest of the closed end of the earplugs
2
           to sell Dual-ended Combat Arms™ earplugs to the military with the representation that
3
           they possess a “22” NRR in the closed position.
4
        33. Defendants’ standard instructions for “proper use” of its Dual-ended Combat Arms™
5

6          earplugs do not instruct wearers to fold back the flanges of the opposite end before

7          inserting the plug into the ear. Instead, Defendants improperly instruct wearers to simply
8
           insert the earplugs into the ear canal.
9
        34. By failing to instruct wearers of the Dual-ended Combat Arms™ earplug to fold back the
10
           flanges on the open/unblocked end of the plug before inserting the closed/blocked end of
11

12         the plug into their ears (which is necessary to achieve the “22” NRR), 3M/Aearo falsely

13         overstates the amount of hearing protection provided by the closed end of the plug.
14
        35. 3M’s/Aearo’s packaging and marketing of such earplugs with a labeled NRR of “22”
15
           thereby misleads the wearer and has likely caused thousands of soldiers to suffer
16
           significant hearing loss and tinnitus in addition to exposing millions more to the risk
17

18         caused by 3M/Aearo’s defective earplugs.

19      36. 3M/Aearo was aware prior to selling the earplugs to the military, testing procedures and
20
           fitting instructions were unlawfully manipulated to obtain the NRRs they wanted on both
21
           ends of the Dual-ended Combat Arms™ earplug, and 3M/Aearo continued to use these
22
           inaccurate NRRs to market the earplugs to the military for more than ten years without
23

24         disclosing the design defect in the plugs.

25      37. Plaintiff reserves the right to supplement these facts after discovery.
26

27

28
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1                                        IV.   CAUSES OF ACTION
2
        A. PRODUCTS LIABILITY—DESIGN DEFECT
3
        38. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein and
4
           further alleges as follows:
5

6       39. Defendant was in the business of designing, manufacturing, selling, and/or otherwise

7          placing the Dual-ended Combat Arms™ earplugs in the steam of commerce.
8
        40. Defendants had a duty to manufacture, design, formulate, test, package, label, produce,
9
           create, make, construct, assemble, market, advertise, promote, and distribute, the Dual-
10
           ended Combat Arms™ with reasonable and due care for the safety and well-being of U.S.
11

12         military service men and women, including Plaintiff, who were subject to and used the

13         Dual-ended Combat Arms™ earplugs during their service with the U.S. military.
14
        41. At the time the Dual-ended Combat Arms™ earplugs were designed, manufactured and
15
           sold by the Defendant, they were defective in design and unreasonably dangerous. The
16
           defective and unreasonably dangerous condition of the earplugs in question was a direct
17

18         and proximate cause of the injuries to the Plaintiff.

19      42. Plaintiff was a foreseeable user of the Dual-ended Combat Arms™ earplugs and
20
           Defendants knew that the Dual-ended Combat Arms™ earplugs would be used by U.S.
21
           military service men and women, including Plaintiff.
22
        43. Plaintiff received the earplugs in question in the condition expected and intended by the
23

24         Defendant.

25      44. Plaintiff used the earplugs in question for their intended and foreseeable purpose.
26
        45. The Dual-ended Combat Arms™ earplugs are defective in that the design of the earplug
27
           causes them to loosen in the wearer’s ear, imperceptibly to the wearer, thereby permitting
28
     COMPLAINT AND JURY DEMAND - 9
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1          damaging sounds to enter the ear canal by traveling around the outside of the earplug
2
           while the user incorrectly believes that the earplug is working as intended.
3
        46. The defect has the same effect when either end is inserted because the earplugs are
4
           symmetrical. In either scenario, the effect is that the earplug may not maintain a tight seal
5

6          in some wearers’ ear canals such that dangerous sounds can bypass the plug altogether

7          thereby posing serious risk to the wearer’s hearing unbeknownst to him or her.
8
        47. Safer alternative designs existed other than the one used, which were economically and
9
           technologically feasible and would have prevented or significantly reduced the risk of
10
           accident and/or injury in question without substantially impairing the utility of the Dual-
11

12         ended Combat Arms™.

13      48. The earplugs were defectively designed because the stem was too short, so that it was
14
           difficult for users to insert the earplug deeply enough into their ear canal to obtain a
15
           proper fit. This improper fit while using the earplugs in question caused Plaintiff’s
16
           injuries. Defendant could have designed the earplugs with a longer stem so that it would
17

18         allow users to insert the plug deeper into their ear canal and obtain a proper fit.

19      49. Each alternative design for the defects in these earplugs was available in the market and
20
           would have been technologically and economically feasible at the time the Dual-ended
21
           Combat Arms™ earplugs were manufactured and would not have impaired the utility of
22
           the earplugs.
23

24      50. At the time the earplugs in question were sold, the defective design caused the product to

25         unexpectedly fail to function in a manner reasonably expected by an ordinary consumer.
26
           The defective and unreasonably dangerous design of the earplugs in question were a
27
           producing cause of Plaintiff’s injuries.
28
     COMPLAINT AND JURY DEMAND - 10
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1       51. At the time of Plaintiff’s use of the Dual-ended Combat Arms™ earplugs, the earplugs
2
           were in the same or substantially similar condition as they were at the time they left
3
           Defendant’s control and were placed into the stream of commerce.
4
        B. PRODUCTS LIABILITY—MANUFACTURING DEFECT
5

6       52. The Dual-ended Combat Arms™ earplugs were originally designed, manufactured, and

7          sold by Defendant. At the time the earplugs in question were sold, Defendant was in the
8
           business of designing, manufacturing, selling, and/or otherwise placing the Dual-ended
9
           Combat Arms™ earplugs in the steam of commerce.
10
        53. Plaintiff received the earplugs in question in the condition expected and intended by the
11

12         Defendant.

13      54. Plaintiff used the earplugs in question for their intended and foreseeable purpose.
14
        55. When they left control of Defendant, defects in the manufacture of the earplugs in
15
           question rendered them defective and unreasonably dangerous in that they were difficult
16
           for users to insert the earplugs deeply enough into the ear canal to obtain a proper fit.
17

18         Specifically, the stem of the earplugs was too short. The defective manufacture of the

19         Dual-ended Combat Arms™ earplugs directly and proximately caused Plaintiff’s injuries.
20
        C. PRODUCTS LIABILITY—FAILURE TO WARN
21
        56. Defendants failed to give adequate and proper warnings or instructions regarding the
22
           dangers of the Dual-ended Combat Arms™ earplugs. Defendant failed to warn potential
23

24         and actual users of the dangers and risk of the defects. Specifically, Defendant failed to

25         provide adequate instructions to users regarding the need to manipulate the earplugs for
26
           proper use. Defendants’ failure to warn rendered the earplugs defective and unreasonably
27
           dangerous and was a proximate cause of the Plaintiff’s injuries and damages.
28
     COMPLAINT AND JURY DEMAND - 11
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1       D. STRICT LIABILITY
2
        57. The Dual-ended Combat Arms™ earplugs were originally designed, manufactured, and
3
           sold by Defendant. At the time the earplugs in question were sold, Defendant was in the
4
           business of designing, manufacturing, selling, and/or otherwise placing the Dual-ended
5

6          Combat Arms™ earplugs in the steam of commerce.

7       58. Plaintiff received the earplugs in question in the condition expected and intended by the
8
           Defendant.
9
        59. Plaintiff used the earplugs in question for their intended and foreseeable purpose.
10
        60. Due to the design, the earplugs in question were not reasonably effective at reducing
11

12         noise. The failure to appropriately design and manufacture the earplugs, which

13         contributed to their ineffectiveness, was the direct and proximate cause of Plaintiff’s
14
           injuries.
15
        61. Defendant placed the earplugs into the stream of commerce and expected or could
16
           reasonably foresee the use of the Dual-ended Combat Arms™ earplugs by individuals
17

18         and service members, such as Plaintiff, in the condition in which they were designed,

19         manufactured and sold.
20
        62. The defective condition of the Dual-ended Combat Arms™ earplugs was undiscoverable
21
           at the time of use. The defective condition was not observable by Plaintiff, who relied
22
           upon Defendant to design, test, manufacture, sell and deliver the earplugs in a condition
23

24         fit for the purposes intended.

25      63. As a direct and proximate result of the Defendant failing to properly design, test,
26
           manufacture, sell and deliver the earplugs in question, Plaintiff has suffered personal
27
           injuries. Thus, Defendant should be held strictly liable.
28
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1       E. NEGLIGENCE
2
        64. Defendants committed acts of omission and commission, which collectively and
3
           severally constituted negligence, and that negligence caused Plaintiff’s injuries.
4
        65. Defendant’s acts or omissions constituting negligence include but are not limited to the
5

6          following:

7              a. Failing to properly design the Dual-ended Combat Arms™ earplugs;
8
               b. Failing to properly manufacture the Dual-ended Combat Arms™ earplugs;
9
               c. Failing to adequately test the Dual-ended Combat Arms™ earplugs;
10
               d. Failing to properly market the Dual-ended Combat Arms™ earplugs;
11

12             e. Failing to properly instruct users of the Dual-ended Combat Arms™ earplugs;

13             f. Failing to warn consumers of a known defect/danger with the Dual-ended Combat
14
                   Arms™ earplugs;
15
               g. Failing to recall the Dual-ended Combat Arms™ earplugs;
16
               h. Failing to disclose information known about dangers or defects in the Dual-ended
17

18                 Combat Arms™ earplugs;

19             i. Concealing known dangers with the Dual-ended Combat Arms™ earplugs; and
20
               j. Failing to meet or exceed internal corporate guidelines.
21
                   PUNITIVE DAMAGES
22
        66. Defendants have acted willfully, wantonly, with an evil motive, and recklessly in one or
23

24         more of the following ways:

25             a. By failing to disclose material facts regarding the dangerous and serious safety
26
                   concerns of Dual-ended Combat Arms™ earplug by concealing and suppressing
27

28
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1                  material facts regarding the dangerous and serious health and/or safety concerns
2
                   of Dual-ended Combat Arms™ earplug;
3
               b. By failing to disclose the truth and making false representations with the purpose
4
                   and design of deceiving and lulling Plaintiffs, and others, so that they would use
5

6                  and rely upon the Dual-ended Combat Arms™ earplug;

7              c. By falsely representing the dangerous and serious health and/or safety concerns of
8
                   the Dual-ended Combat Arms™ earplug to the public at large, and Plaintiff in
9
                   particular.
10
        TOLLING OF THE STATUTE OF LIMITATIONS
11

12      67. Plaintiff filed this lawsuit within the applicable limitations period of first suspecting that

13         the Dual-ended Combat Arms™ earplugs caused his injuries. Plaintiff could not and did
14
           not, by the exercise of reasonable diligence, have discovered the wrongful cause of the
15
           Dual-ended Combat Arms™ earplugs-induced injuries at an earlier time, because, at the
16
           time of these injuries, the cause was unknown to Plaintiff. Plaintiff did not suspect, nor
17

18         did Plaintiff have reason to suspect, the cause of these injuries, or the tortious nature of

19         the conduct causing these injuries, until less than the applicable limitations period prior to
20
           the filing of this action.
21
        68. Furthermore, the running of any statute of limitations or repose has been tolled by reason
22
           of Defendants’ fraudulent concealment, including but not limited to through Defendants’
23

24         affirmative misrepresentations and omissions and Defendants’ failure to disclose known

25         but non-public information about the defective nature of the Dual-ended Combat Arms™
26
           earplug – information over which they had exclusive control, as set forth herein.
27

28
     COMPLAINT AND JURY DEMAND - 14
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1       69. Furthermore, Defendants are equitably estopped from relying on any statutes of limitation
2
            or repose by reason of Defendants’ active concealment, including but not limited to
3
            through Defendants’ affirmative misrepresentations and omissions and Defendants’
4
            failure to disclose known but non-public information about the defective nature of the
5

6           Dual-ended Combat Arms™ earplug – information over which they had exclusive

7           control, as set forth herein.
8
        70. As a result of Defendants’ actions, Plaintiff was unaware, and could not reasonably know
9
            or have learned through reasonable diligence that the Plaintiff had been exposed to the
10
            defects and risks alleged herein, and that those defects and risks were the direct and
11

12          proximate result of Defendants’ acts and omissions.

13      71. Through Defendants’ affirmative misrepresentations and omissions pertaining to the
14
            safety and efficacy of the Dual-ended Combat Arms™ earplugs, Plaintiff was prevented
15
            from discovering this information sooner because Defendants herein misrepresented and
16
            continued to misrepresent the defective nature of the Dual-ended Combat Arms™
17

18          earplugs.

19      72. Additionally, pursuant to the Servicemembers Civil Relief Act, the period of Plaintiff’s
20
            military service may not be included in computing any statute of limitations applicable
21
            herein. See 50 U.S.C. § 3936.
22
            JURY DEMAND
23

24   Plaintiff hereby demands a trial by jury as to all claims in this action.

25          PRAYER FOR RELIEF
26
            WHEREFORE, Plaintiff prays that Defendant be cited to appear and answer herein and
27
     that after due proceedings are had, that there be judgment in favor of Plaintiff and against
28
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1    Defendants for the damages set forth below, along with court costs, pre-judgment and post-
2
     judgment interest at the legal rate;
3
            a. The amount of reasonable medical expenses necessarily incurred in the past, and
4
                those that will reasonably be incurred in the future;
5

6           b. Pain and suffering (past and future);

7           c. Physical disfigurement suffered by Plaintiff (past and future);
8
            d. Physical impairment suffered by Plaintiff (past and future);
9
            e. Mental anguish and distress (past and future);
10
            f. Wage loss (past and future);
11

12          g. Loss of earnings and loss of earning capacity;

13          h. Loss of enjoyment of life (past and future);
14
            i. Cost of suit;
15
            j. Attorney’s fees;
16
            k. Punitive or exemplary damages in such amounts as may be proven at trial; and
17

18          l. For all such other relief as to which Plaintiff may show himself justly entitled.

19

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